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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION
UNITED STATES OF AMERICA

      VS                                                    CASE NO. 3:03cr26-01/RV

MALIK D. CHESTER

                               REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on April 6, 2009
Motion/Pleadings: Motion to obtain copy of 5K1 motion filed by the Government on behalf of
the defendant August 2003
Filed by Defendant                       on 4/3/2009             Doc.#    122
RESPONSES:
                                         on                      Doc.#
                                         on                      Doc.#
        Stipulated           Joint Pldg.
X       Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                           s/Jerry Marbut
LC (1 OR 2)                              Deputy Clerk: Jerry Marbut

                                       ORDER
Upon consideration of the foregoing, it is ORDERED this                    8th     day of
  April                 , 2009, that:
(a) The relief requested is GRANTED.
(b)




                                           /s/ Roger Vinson
                                                          ROGER VINSON
                                              Senior United States District Judge
